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14                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
15                             WESTERN DIVISION
16
     JEREMIAH PENA,                        No. 2:21-cv-00660-ADS
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                     Plaintiff,
18
                                           JUDGMENT OF REMAND
     v.
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     KILOLO KIJAKAZI,
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     Acting Commissioner of Social
21   Security,
22                   Defendant.
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Case 2:21-cv-00660-ADS Document 22 Filed 11/19/21 Page 2 of 2 Page ID #:583



1          The Court having approved the parties’ Stipulation to Remand for Further
2    Proceedings Pursuant to Sentence Four of 42 U.S.C. § 405(g) and for Entry of
3    Judgment in Favor of Plaintiff (“Stipulation to Remand”) lodged concurrent with
4    the lodging of the within Judgment of Remand, IT IS HEREBY ORDERED,
5    ADJUDGED AND DECREED that the above-captioned action is remanded to the
6    Commissioner of Social Security for further proceedings consistent with the
7    Stipulation to Remand.
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     DATED: November 19, 2021               /s/ Autumn D. Spaeth
                                          _______________________________
9                                         HON. AUTUMN D. SPAETH
                                          UNITED STATES MAGISTRATE JUDGE
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